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9                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
10                                    AT SEATTLE
11   UNITED STATES OF AMERICA,        )
                                       )              NO.    CR05-391RSM
12                    Plaintiff,       )
                                       )              ORDER DENYING
13              v.                     )              DEFENDANT’S MOTION
                                       )              TO REVOKE ORDER OF
14   CARLOS MIGUEL WATSON,             )              DETENTION
                                       )
15                    Defendant.       )
     _________________________________)
16

17          THIS MATTER having come before the Court upon a motion by the Defendant to
18   Revoke the Order of Detention, and based upon that motion, the audio record of the
19   hearing before the Magistrate Judge, the affidavits submitted, the exhibits submitted, the
20   Magistrate Judge’s Order of Detention, and the entirety of the records and files herein,
21   the Court FINDS and RULES as follows:
22          1.   The defendant has been charged by Indictment with being part of a
23   conspiracy to distribute various drugs, including cocaine, cocaine base, marijuana and
24   oxycodone over a 5 year period, in violation of title 21, United States Code.
25          2.   There is probable cause to believe that the defendant has committed the drug
26   offense. The maximum penalty is a mandatory minimum of ten years imprisonment and
27   up to life imprisonment, if convicted. Therefore, there is a rebuttable presumption against
28   the defendant’s release based upon both dangerousness and risk of flight.
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1           3.    The Magistrate Judge found that nothing in the record presented at the
2    hearing satisfactorily rebutted the presumption against release. As stated in the order of
3    detention dated November 23, 2005, “The Court is concerned with the danger the
4    defendant poses to the community. Although the defendant has a concealed weapons
5    permit, the Court is troubled by the number and nature of the assault weapons in light of
6    the great quantities of narcotics involved in this offense, both of which further underscore
7    the defendant’s risk of danger. Moreover, the defendant has photographs in his home
8    which show an affinity for the 74 Hoover Crip members, regardless of whether he is a
9    member.”
10          4.    At the time of arrest, the defendant was engaged in attempting to destroy
11   evidence by flushing two large bags that contained cocaine down the toilet. More than
12   half a kilogram of cocaine was recovered in addition to approximately $10,000 in cash.
13          5.    A search of the defendant’s residence revealed several firearms including
14   multiple assault rifles of the sort typically used by drug dealers. Many of these weapons
15   were loaded and ready and scattered around the house and garage in various locations
16   thereby maximizing their accessibility.
17          6.    As described by the Magistrate Judge, there were also various photographs of
18   the defendant surrounded by individuals that appear to be “flashing” gang signs.
19   Obviously the defendant associates with gang members regardless of whether or not he
20   himself is a member of a gang.
21          7.    The evidence at this point in time, supports an inference that the defendant is
22   involved in a large-scale drug conspiracy involving trafficking in kilogram quantities and
23   that he uses multiple firearms maintained in a condition where they can be readily used as
24   part of his criminal activity.
25          8.    Based upon a review of the evidence before the Magistrate Judge, as well as
26   the evidence subsequently presented to this Court, the Magistrate Judge’s finding that
27   nothing in the record satisfactorily rebutted the presumption against the defendants
28
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1    release was not error and her decision is affirmed.
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3           DATED this 4th day of January, 2006.
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                                                      A
                                                      RICARDO S. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
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